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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                        TALLAHASSEE DIVISION

JAC’QUANN (ADMIRE)        )
HARVARD, et al.,          )
                          )
          Plaintiffs,     )
                          )
v.                        )             Case No.: 4:19-cv-00212-MW-MAF
                          )
                          )
MARK S. INCH, et al.,     )
                          )
          Defendants.     )
__________________________

 PLAINTIFFS’ UNOPPOSED MOTION FOR EXTENSION OF TIME TO
   FILE A RESPONSE TO DEFENDANTS’ AMENDED MOTION FOR
               RELIEF FROM, AND OBJECTIONS TO,
           THE MAGISTRATE JUDGE’S ORDER (ECF 256)
__________________________________________________________________

      Under Rule 6(b) of the Federal Rules of Civil Procedure and Local Rule 7.1,

Plaintiffs, by and through their undersigned counsel, hereby respectfully move this

Court for a three-day extension of time until March 12, 2021, to file a memorandum

in response to Defendants’ Amended Motion for Relief From, and Objections to, the

Magistrate Judge’s Order and Incorporated Memorandum of Law. ECF 256. As

grounds for the motion, Plaintiffs state:

      1.     This action was filed on May 8, 2019. ECF No. 1. Plaintiffs and the

putative class challenge Secretary Mark Inch’s and the Florida Department of

Corrections’ (collectively, “Defendants”) policies and practices regarding the use of
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isolation in violation of their rights under the Eighth and Fourteenth Amendments to

the United States Constitution and on the basis of disability discrimination. Id.

        2.       On November 23, 2020, Plaintiffs filed a Motion for Protective Order,

alleging that Defendants were threatening Plaintiffs’ fact-gathering by retaliating

against putative class members. ECF No. 183.

        3.       This Court heard evidence in this matter from January 11, 2021,

through January 15, 2021, which included testimony from twenty-three witnesses

and a range of declarations and documents submitted by both parties.

        4.       Following this five-day evidentiary hearing, the Court entered an Order

granting Plaintiffs’ Motion for Protective Order on February 8, 2021. ECF 240.

        5.       On February 23, 2021, Defendants filed an Amended Motion for Relief

From, and Objections to, the Magistrate Judge’s Order and Incorporated

Memorandum of Law. 1 ECF 256. Defendants’ objections and arguments are detailed

in over 58 pages and nearly 13,000 words 2 and raise arguments that include the

following:

                 a. There was no authority to enter this Order under 28 U.S.C. §

                     636(b)(1)(A);


1
  On February 22, 2021, Defendants filed a Motion for Relief From, and Objections to, the Magistrate’s Order and
Incorporated Memorandum of Law. ECF 254. Upon Defendants’ Amended Motion, the Court denied Defendants’
Motion as Moot. ECF 258.

2
 On February 19, 2021, the Court entered an Order increasing the word limit for each party from 8,000 words to
13,000 words. ECF 253.

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                    b. The Order improperly applies Federal Rule of Civil Procedure 26;

                    c. The Order, to the extent entered under the Court’s inherent

                        authority, was not based on any findings that the alleged conduct

                        and communications impaired the Court’s ability to administer

                        justice or the Plaintiffs’ ability to complete their fact-finding and

                        that the Court cannot use its inherent authority to side-step the

                        requirements of the First Amendment, Rule 65, Rule 23, or the

                        separation of powers doctrine;

                    d. The Order is not permissible under Rule 23(d) because the relief

                        ordered is not available under that Rule, there were no findings

                        satisfying the Gulf Oil 3 standard, and the findings made were not

                        based on a clear record;

                    e. The Order violates the separation of powers doctrine;

                    f. The Order is an unconstitutional prior restraint on speech;

                    g. The Order violates the Prison Litigation Reform Act; and

                    h. The Order is impermissibly vague.

           6.       Under Local Rule 7.1(E), Plaintiffs’ memorandum in opposition to

Defendants’ Amended Motion is due on March 9, 2021.

           7.       Plaintiffs respectfully request a three-day extension of time until March


3
    Gulf Oil Co. v. Bernard, 452 U.S. 89 (1981).

                                                   3
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12, 2021, to respond to Defendants’ Amended Motion for Relief From, and

Objections to, the Magistrate Judge’s Order and Incorporated Memorandum of Law.

      8.     Additional time is necessary for Plaintiffs’ counsel to prepare a

comprehensive response that will assist the Court in the resolution of this matter.

      9.     This request for an extension of time is made in good faith, is supported

by good cause, and will not prejudice any party. The request is not sought for the

purpose of delay, nor will the requested extension of time adversely impact these

proceedings. Defendants do not oppose this extension of time.

      WHEREFORE, Plaintiffs respectfully request that this Court enter an Order

granting a three-day extension of time, until March 12, 2021, for Plaintiffs to file a

response to Defendants’ Amended Motion for Relief From, and Objections to, the

Magistrate Judge’s Order and Incorporated Memorandum of Law.

                   Certificate of Local Rule 7.1(B) Conference

      In accordance with N.D. Fla. Local Rule 7.1(B) and (C), the undersigned

counsel certifies that Plaintiffs’ Counsel, Sam Thypin-Bermeo, and Defendants’

counsel, Samantha Duke, have conferred via electronic mail about the relief sought

in this motion. Defendants do not oppose the relief sought.

                            Certificate of Word Limit

      The undersigned counsel certifies compliance with the word limit in N.D.

Fla. Local Rule 7.1(F). This motion contains 631 words.


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                                 Respectfully Submitted,


Dated: March 8, 2021                s/ Kelly Knapp
                                 Kelly Knapp
                                 Fla. Bar No. 1011018
                                 Leonard Laurenceau
                                 Fla. Bar. No. 106987
                                 Southern Poverty Law Center
                                 2 South Biscayne Boulevard
                                 Miami, FL 33131
                                 Telephone: (786) 347-2056
                                 kelly.knapp@splcenter.org
                                 leo.laurenceau@splcenter.org

                                 Andrea Costello
                                 Fla. Bar No. 532991
                                 Christopher M. Jones
                                 Fla. Bar No. 994642
                                 Jennifer Painter
                                 Fla. Bar No. 110966
                                 Aimee Lim
                                 Fla. Bar No. 116209
                                 Florida Legal Services
                                 122 E. Colonial Drive, Suite 100
                                 Orlando, FL 32801
                                 Telephone: (407) 801-0332 (direct)
                                 andrea@floridalegal.org
                                 christopher@floridalegal.org
                                 jennifer.painter@floridalegal.org
                                 aimee.lim@floridalegal.org

                                 Dante P. Trevisani
                                 Fla. Bar No. 72912
                                 Laura A. Ferro
                                 Fla. Bar No. 1015841
                                 Sam Thypin-Bermeo
                                 Fla. Bar No. 1019777
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                             Marcel Lilavois, Jr.
                             Fla. Bar No. 1016175
                             Kara Wallis*
                             NY Bar No. 5394671
                             Florida Justice Institute, Inc.
                             100 SE 2nd St., Ste 3750
                             Miami, FL 33131
                             Telephone: (305) 358-2081
                             dtrevisani@floridajusticeinstitute.org
                             lferro@floridajusticeinstitute.org
                             sthypin-bermeo@floridajusticeinstitute.org
                             mlilavois@floridajusticeinstitute.org
                             kwallis@floridajusticeinstitute.org

                             Lori Rifkin*
                             CA Bar No. 244081
                             Rifkin Law Office
                             3630 Hight St. #18917
                             Oakland, CA
                             Telephone: (510) 414-4132
                             lrifkin@rifkinlawoffice.com

                             *Admitted pro hac vice

                             Attorneys for Plaintiffs




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